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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
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                                                                       :
UNITED STATES OF AMERICA,                                              :
                                                                       :
                  -v-                                                  :       19-CR-131 (PAE)
                                                                       :
JUSTIN RIVERA, and,                                                    :     SCHEDULING ORDER
DWAYNE ANTHONY CONLEY                                                  :
                                                                       :
                                    Defendants.                        :
                                                                       :
---------------------------------------------------------------------- X

PAUL A. ENGELMAYER, United States District Judge:

        For the reasons stated on the record at today’s conference, the Court hereby sets the

following schedule and deadlines:

                       •    The Government is to produce 3500 material as to victim witnesses on

                            December 14, 2020 and as to all other witnesses on December 21, 2020.

                       •    Pretrial motions by each side are due on January 4, 2021. Oppositions

                            to any such motions are due January 12, 2021.

        The above schedule presupposes a trial date of January 25, 2021. In the event that trial is

durably scheduled for a later date, the Court will entertain an application modify this schedule.



        SO ORDERED.


Dated: November 9, 2020
                                                                       PaJA.�
                                                                 __________________________________
                                                                       PAUL A. ENGELMAYER
       New York, New York                                              United States District Judge
